               Case 8:19-bk-01274-CPM            Doc 133       Filed 07/24/19      Page 1 of 2
[8w11aprds] [ORDER CONDITIONALLY APPROVING DISCLOSURE STATEMENT]

                                               ORDERED.


          Dated: July 24, 2019




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION
                                        www.flmb.uscourts.gov



In re:                                                         Case No.
                                                               8:19−bk−01274−CPM
                                                               Chapter 11
National Radiology Consultants, P.A.

________Debtor*________/


            ORDER CONDITIONALLY APPROVING AMENDED DISCLOSURE
          STATEMENT,FIXING TIME TO FILE OBJECTIONS TO THE AMENDED
         DISCLOSURE STATEMENT, FIXING TIME TO FILE APPLICATIONS FOR
      ADMINISTRATIVE EXPENSES, SETTING HEARING ON CONFIRMATION OF THE
  AMENDED PLAN, AND SETTING DEADLINES WITH RESPECT TO CONFIRMATION HEARING
         [This Order supersedes the Court's Prior Order Setting Confirmation (Doc. 103)]
    THIS CASE came on for consideration of the conditional approval of the Amended Disclosure Statement
("Disclosure Statement") (Doc. 121) filed by the Debtor ("Plan Proponent"). Based upon a review of the
Disclosure Statement, the Court has determined that the Disclosure Statement contains adequate information
within the meaning of section 1125 of the Bankruptcy Code and should be conditionally approved.
Accordingly, it is
   ORDERED:

   1. Conditional Approval of Disclosure Statement. The Disclosure Statement is conditionally approved
subject to the rights of parties to object as described below.

   2. Deadlines for Election of Application of Section 1111(b)(2) and Objections to Disclosure Statement. Any
written objections to the Disclosure Statement shall be filed with the Court and served on the Local Rule 1007
−2 Parties in Interest List no later than seven (7) days prior to the date of the hearing on confirmation as set
forth below ("Confirmation Hearing"). If no objections are filed within the time fixed, the conditional
approval of the Disclosure Statement shall become final. Any objection or request to modify the Disclosure
Statement shall be considered at the Confirmation Hearing.

    3. Confirmation Hearing. The Court will conduct a hearing on confirmation of the Amended Plan (the
"Plan") (Doc. 120), including timely filed objections to confirmation, objections to the Disclosure Statement,
motions for cramdown, applications for compensation, and motions for allowance of administrative claims on
September 5, 2019, at 2:00 p.m. in Tampa, FL − Courtroom 8B, Sam M. Gibbons United States Courthouse,
801 N. Florida Avenue . The hearing may be adjourned from time to time by announcement made in open
court without further notice. If the Plan is not confirmed, the Court will also consider dismissal or conversion
of the case.
               Case 8:19-bk-01274-CPM              Doc 133      Filed 07/24/19       Page 2 of 2
    4. Date for Acceptance or Rejection of the Plan. Parties in interest shall submit to the Clerk's office their
written ballot accepting or rejecting the Plan no later than eight (8) days before the date of the Confirmation
Hearing. Ballots should be submitted through CM/ECF, for those users with a login and password, or through
the Chapter 11 eBallots link on the Court's website, for those who do not have access to the Court's electronic
filing system. Website address is: www.flmb.uscourts.gov. Mailing address: Clerk, United States Bankruptcy
Court, Sam M. Gibbons United States Courthouse, 801 N. Florida Ave, Suite 555, Tampa, FL 33602.

   5. Deadline for Objections to Confirmation. Objections to confirmation shall be filed with the Court and
served on the Local Rule 1007−2 Parties in Interest List no later than seven (7) days before the date of the
Confirmation Hearing.

   6. Ballot Tabulation. In accordance with Local Rule 3018−1(a), the Plan Proponent shall file a ballot
tabulation no later than 96 hours prior to the time set for the Confirmation Hearing.

   7. Service of Solicitation Package. No later than five days after entry of this order, the Plan Proponent
shall serve all parties entitled to service under Fed. R. Bankr. P. 3017(d) with copies of the Plan, Disclosure
Statement, this Order, and ballots for accepting or rejecting the Plan and a certificate of service evidencing
service of same shall be filed with the Court within three (3) days thereafter.

    8. Administrative Claims Bar Date. All creditors and parties in interest that assert a claim against the
Debtor which arose after the filing of this case, including all professionals seeking compensation from the
estate of the Debtor pursuant to section 330 of the Bankruptcy Code, must file motions or applications for the
allowance of such claims with the Court no later than fifteen (15) days after the entry of this order. Any
motions or applications filed may be heard at the Confirmation Hearing if properly scheduled and noticed by
the applicant. Any motion or application not heard at the Confirmation Hearing will be scheduled for hearing
in the normal course.

    9. Confirmation Affidavit. Three (3) days prior to the Confirmation Hearing, the Plan Proponent shall
file a confirmation affidavit which shall contain the factual basis upon which the Plan Proponent relies in
establishing that each of the requirements of section 1129 of the Bankruptcy Code are met.

Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires that all persons appearing in
Court should dress in business attire consistent with their financial abilities. Shorts, sandals, shirts without
collars, including tee shirts and tank tops, are not acceptable.

Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule 5073−1 restricts the entry
of cellular telephones and, except in Orlando, computers into the Courthouse absent a specific order of
authorization issued beforehand by the presiding judge. Please take notice that as an additional security
measure a photo ID is required for entry into the Courthouse.

              Copies of this order to be served on all creditors and the Local Rule 1007−2
              Parties in Interest List and proof of such service to be filed in accordance with
              Local Rule 7005−1 by counsel for Plan Proponent.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
